 4:08-cr-03095-RGK-DLP   Doc # 37   Filed: 09/10/08   Page 1 of 1 - Page ID # 57




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )     4:08CR3095
                                     )
     v.                              )
                                     )       ORDER
JESUS MENDIBIL and                   )
FABIOLA BERNAL,                      )
                                     )
     Defendants.                     )


     IT IS ORDERED,

     The motion of defendant Jesus Mendibil to continue, filing
36, is granted and,

     1. Trial of this matter as to both defendants is continued
to 9:00 a.m., October 6, 2008 before the Honorable
Richard G. Kopf in Courtroom 1, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.
Jury selection will be held at commencement of trial.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendants in a speedy trial, and the additional time arising as
a result of the granting of the motion, the time between
September 9, 2008 and October 6, 2008 shall be deemed excludable
time in any computation of time under the requirements of the
Speedy Trial Act, for the reason that the parties require
additional time to adequately prepare the case, taking into
consideration due diligence of counsel, the novelty and
complexity of the case, and the fact that the failure to grant
additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(8)(A) & (B).

     Dated September 10, 2008.

                                    BY THE COURT


                                    s/David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
